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2025-02-07

Dear Honorable Judge Wiegand,

My name is Matthew Cartier, and | am writing in support of my friend Mohamad Hamad who is
currently facing charges in your court. | am coming up on my sixth year of living in Pittsburgh. |
recently left Google after five years in their Site Reliability department and an additional two in
their IT department.

Mohamad is an exceptionally kind individual and | have seen him open his life and heart to
people so freely over the time | have known him. His kindness and warmth are truly exceptional.
He cares a lot about helping his friends and before this was always willing to spring into action
to help someone out with a ride or his presence. His confinement has severely affected him. It
has been hard to see him go through this ordeal, and because he is confined it is difficult for his
friends to support him. We speak often of how his isolation due to confinement has made it
harder for him to maintain friendships and support in his community.

| understand the severity of the charges Mohamad faces. As his friend, | will help make sure
that he follows all pretrial conditions if not confined. | have already assisted him multiple times in
getting to and from court and will continue to do so. | want to see him succeed and will devote
my energy to this.

Thank you for taking the time to read this. | can be reached at if you need more
information.

Sincerely,

Matthew Cartier

EXHIBIT D
